DAVIS WRIGHT TREMAINE LLP

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William Meagher

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIF()RNIA ALB
SAN FRANC!SCO DlvlsloN "
CV 8 '/" ‘»-"“ v » .
1 7 0 U .<: 6211§1:
John J . Hurry and Justine Hurry, as husband and Case No.
wife; lnvestment Services Corporation, an

Arizona Corporation, BRICFM LLC d/b/a/ (D. Ariz. No. 14-cv-04420-NC)

Corner of Paradise lee Cream Store, a Califomia

Limited Liability Company, PROOF OF SERVICE
Plaintiffs,

Hearing Date:
vs. Hearing Tirne:

Financial Industry Regulatory Authority, lnc.,

Defendant.

 

 

 

PROOF OF SERVICE

 

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PROOF OF SERVICE

l am employed in the City and County of San Francisco, State of California, in the office
ol`a member of the bar 01` this court, at Whose direction the service was made. l am over the age of
eighteen (18) years, and not a party to or interested in the within-entitled action l am an employee
of DAVIS WRIGHT TREMAINE LLP, and my business address is 505 Montgomery Street, Suite
800, San Francisco, California 94111-6533.

I caused to be served a copy of the following document

NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA ISSUED
FR()M A CIVIL CASE PENDING BEFORE THE UNITED STATES
DISTRIC'I` COURT FOR THE DISTRICT OF ARIZONA AND SERVED ON
NON-PARTY JOURNALIST WILLIAM MEAGHER

DECLARATION OF JOHN M. BROWNING IN SUPPORT OF N()TICE ()F
MOTION AND MOTION OF TO QUASH SUBPOENA

I)ECLARATION OF WILLIAM MEAGHER IN SUPPORT OF NOTICE OF
MOTION AND MOTION OF 'I`O QUASH SUBPOENA

I caused the above document to be served on each oi` the persons listed below by the
following means:

Joseph G. Adams, Esq. Charles Harder, Esq.

Carlie Shae Tovrea, Esq. Dilan Esper, Esq.

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Cozmse!for Defe)?drmts
l enclosed a tiue and correct copy of said document in an envelope and placed it for

collection and mailing via Federal Express on February 28, 2017, for guaranteed delivery
on l\/Iarch l, 2017, following the ordinary business practice.

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I am readily familiar with my flrm’s practice for collection and processing of
correspondence for delivery in the manner indicated above, to wit, that correspondence will be
deposited for collection in the above-described manner this same day in the ordinary course of
business.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed on February 28, 2017, at San Francisco, C lifornia.

  

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